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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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     Gene Garvin,                   )              SACV 14-00061 JVS (ANx)
11                                  )
                                    )              ORDER OF DISMISSAL UPON
12             Plaintiff,           )
                                    )              SETTLEMENT OF CASE
13        v.                        )
                                    )
14   Winn Law Group, APC, et al.,   )
                                    )
15             Defendant(s).        )
                                    )
16                                  )
     ______________________________ )
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18         The Court having been advised by the counsel for the parties that the above-
19   entitled action has been settled,
20     IT IS ORDERED that this action be and is hereby dismissed in its entirety without
21   prejudice to the right, upon good cause being shown within 45 days, to reopen the
22   action if settlement is not consummated.
23
24   DATED:       May 1, 2014
                                                 ___________________________
25                                                  James V. Selna
                                                 United States District Judge
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